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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY
                               Clerk's Office − Newark, NJ


  KENNETH ARMSTRONG, et al.
                                                Plaintiff,
  v.                                                         Case No.:
                                                             2:12−cv−03319−SDW−LDW
                                                             Judge Susan D. Wigenton
  ANDOVER SUBACUTE AND REHAB
  CENTER SERVICES ONE, INC., et al.
                                                Defendant.




             Notice Of Call For Dismissal Pursuant to Local Civil Rule 41.1(a)

     Please take notice that the above−captioned action, having been pending for more than
  90 days, without any proceeding having been taken therein, will be called at the Martin
  Luther King Building and U.S. Courthouse, 50 Walnut Street, Newark, NJ before Judge
  Susan D. Wigenton on 1/24/2018 or as soon thereafter as the same may be reached, and
  unless sufficient reason to the contrary is shown, the case will be dismissed for lack of
  prosecution in accordance with Local Civil Rule 41.1(a).
     NO APPEARANCE IS REQUIRED. Counsel of record or unrepresented parties may
  show good cause by affidavit setting forth what good faith efforts to prosecute this action
  have been made and what further efforts are intended. If said affidavit has not been filed
  before the return date, counsel of record or unrepresented parties may be required to
  appear before the Court, to show good cause why this action should not be dismissed for
  lack of prosecution.


                                                  Very truly yours,
                                                  William T. Walsh, Clerk
                                                  By Deputy Clerk, cds


  cc Plaintiff:
  KENNETH ARMSTRONG




  If applicable, counsel of record is directed to serve this notice to their client, whose street
  and post office address do not appear in the complaint as directed by Local Civil Rule 10.1,
  and to provide proof of service to the Court.
